                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN
                                     GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated

                Plaintiff,                             Case No.: 16-cv-1347

         v.

CASH DEPOT, LTD.

                Defendant.


                             DECLARATION OF LARRY A. JOHNSON


         I, Larry A. Johnson, certify under penalty of perjury that the following is true and correct

to the best of my knowledge and recollection:

         1.     The statements set forth in this declaration are made of my own personal

knowledge and, if called as a witness, I could and would testify competently to the matters stated

below.

         2.     I was admitted to the Bar of the State of Wisconsin in 2006. I am also admitted to

practice before the United States District Courts for the Eastern and Western Districts of

Wisconsin, as well as the United States Court of Appeals for the Seventh Circuit. Most of my

professional time and efforts have involved representing employees in employment matters,

particularly wage and hour matters.

         3.     I worked as an Associate for the employment law firm of Cross Law Firm from

March 18, 2007 to March 18, 2013. In March 2013, I joined Hawks & Quindel, S.C. I am




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currently a Shareholder at Hawks & Quindel, S.C. and one of the lead attorneys in the firm’s

wage and hour practice group.

        4.      Throughout my years of practice, I have represented numerous individuals in

efforts to recover unpaid wages under both state and federal law. My practice has been devoted to

wage and hour and employment law, primarily focusing on individual and class/collective action

wage litigation in federal court. I am a member of the Wisconsin Employment Lawyers

Association and the Wisconsin State Bar, amongst other organizations.

        5.      I am aware that the Attorneys at Walcheske & Luzi, LLC have represented

Plaintiffs in individual and class/collective action wage and hour matters in front of the United

States District Court for the Eastern and Western Districts of Wisconsin. I am aware that

attorneys James A. Walcheske and Scott S. Luzi are experienced with complex federal wage and

hour litigation, and they have served as counsel on behalf of individuals in single-Plaintiff and

multi-Plaintiff wage and hour actions.

        6.      I currently bill for my services at the rate of $350.00 per hour. This hourly rate

has also been approved in numerous matters in the Eastern District of Wisconsin.

        7.      As counsel on numerous wage and hour cases, I am familiar with the market rate

in Wisconsin for representation of plaintiffs under the Fair Labor Standards Act and Wisconsin

state law, including a plaintiff’s ability to recover reasonable attorneys’ fees and costs incurred in

such litigation. With respect to individual and class/collective action wage and hour cases, I

believe that my hourly rate is reasonable and representative of market rate for such services on

these cases.

        8.      I understand that attorneys James A. Walcheske and Scott S. Luzi are filing a

petition for Attorneys’ Fees and Costs in this matter, which is a class/collective wage and hour

case brought under the Fair Labor Standards Act and Wisconsin state law. I understand that James


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A. Walcheske’s current hourly rate is $350.00 for services rendered in individual and

class/collective action wage and hour cases, and that Scott S. Luzi’s current hourly rate is also

$350.00 for services rendered in individual and class/collective action wage and hour cases.

        9.      I understand that the Plaintiff’s allegations in this case were that Defendant failed

to include non-discretionary monetary payments in Plaintiff’s and other similarly situated

employees’ regular rates of pay for overtime purposes, in violation of the Fair Labor Standards

Act and Wisconsin state law. I further understand that, while the matter was in discovery, the

Defendant compensated Plaintiff and other similarly situated employees of Plaintiff with

monetary payments.

       10.      Based on my experience and knowledge of the market, as well as my personal

opinion of the work of the Attorneys James A. Walcheske and Scott S. Luzi, my opinion is that

their hourly rates are reasonable for a wage and hour case.

       11.      Further, based on my experience, my opinion is that a plaintiff and other similarly

situated employees in a class/collective action who recover a portion, or a substantial portion, of

the alleged damages in a wage and hour case constitute a prevailing plaintiff who is entitled to

reasonable attorneys’ fees and costs.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                Executed this 14th day of June, 2018.

                                                              s/ Larry A. Johnson ____       .




                                                              Larry A. Johnson




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